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MICHAEL C. MILLS, ESQ.
Nevada Bar No. 003534

MILLS & ASSOCIATES

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Attorney for Plaintiff,
Great West Casualty Company

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

GREAT WEST CASUALTY COMPANY,

a Nebraska Coiporation CASE NO.: 08~1856

Plaintiff,

VS.

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)
)
)
)
§
JC’S XPRESS, INC., a Nevada Corporation, )
MATTHEW WILLIAMS, individually and ) COMPLAINT F()R
dba JAM ON IT RENO, JAl\/l ON IT ) DECLARATORY RELIEF
BASKETBALL ACADEMY, INC., a Nevada )
Corporation, DOE INDIVIDUALS I- X )
inclusive, and ROE BUSINESS ENTITIES 1 )
- X, inclusive, )
)
)
)

Defendants.

 

COl\/IES NOW Plaintiff GREAT WEST CASUALTY COMPANY, by and through its
counsel of record, Michael C. Mills, Esq. of the law firm of Mills & Associates, and files the
following Colnplaint for Declaratory Relief against Defendants JC’S EXPRESS, INC.,
MATTHEW WILLIAMS, individually and dba JAM ON IT REN(), JAl\/l ON IT
BASKETBALL ACADEMY, INC., and DOE lNDIVIDUALS, 1 - X inclusive and ROE
BUSINESS ENTITIES I-X, inclusive:

PARTIES

1. Plaintiff GREAT WEST CASUALTY COMPANY is a Nebrasl<a Corporation

With its principal place of business in the state of Nebrasl<a, and has complied With the laws of

the State of Nevada pertaining to corporations engaged in the business of insurance

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CoMPLAINT FoR DECLARATORY RELlEF
- Page 1 of 5 ~

 

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2. On information and belief, Defendant JC’S XPRESS, lNC., is and at all times
relevant herein was a Nevada corporation with its principal place of business in the State of
Nevada.

3. On information and belief, Defendant MATTHEW WILLIAMS, is and at all
times relevant herein was the founder and director of J am Oii lt Basl<etball Academy who resides
in Washoe Couiity, Nevada, and does business as JAl\/l ON IT RENO.

4. On information and belief, Defendant JAl\/[ ON IT BASKETBALL ACADEMY,
is a tax exempt non-profit organization organized under the laws of the State of Nevada, with its
principle place of business in Waslioe County, Nevada.

5. All Defendants DOE and ROE are named and sued fictitiously and their citizenship is
disregarded as a matter of law for purposes of removal on grounds of diversity jurisdiction.

6. Defendaiits DOE WDIVIDUALS l through X and ROE BUSINESS ENTITES I
through X are unknown at this time, and may be individuals, partnerships or corporations
Plaintiff alleges that each of the Defendants designated herein as DOE or ROE are athletes,
participants or others who stood to enjoy or otherwise benefit directly or indirectly from the use
of the subject basketball tloors. Plaintiff requests leave of the Court to amend this Complaint to
name the Defeiidants specifically when their identities become l<nown.

JURISDICTI()N AND VENUE

7. This declaratory judgment action is brought under United States Code, Title 28,
Section 2001, the Federal Declaratory Jiidgments Act and Federal Rules Rule of Civil Procedure
57, Declaratory Judginents.

8. Jurisdiction in this matter is based on diversity of citizenship, 28 U.S.C. §1332, in
that there is complete diversity of citizenship and that the amount in controversy exceeds the sum
of $75,000.00, exclusive of costs and interest

9. All the facts and circumstances that give rise to the subject lawsuit occurred iii
Waslioe County, State of Nevada.

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- Page 2 of 5 -

 

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GENERAL ALLEGATIONS

10. On or about March 1, 2006, Defendant JC’S XPRESS, INC. applied for and was
issued a Comrnercial Lines policy of insurance for its trucking business by Plaintiff GREAT
WEST CASUALTY COMPANY through an agent who was licensed to sell insurance in
Nevada. GREAT WEST CASUALTY COMPANY assigned JC’S XPRESS, lNC.s policy
number GWP12705D. The effective date of coverage was from March 1, 2006. The policy was
scheduled to expire March 1, 2007. The policy of insurance took effect with the payment of the
policy preniiuni. The policy provided Commercial General Liability Coverage in the amount of
$1,000.000. Tlie Policy included Trucker’s Liability Coverage in the amount of $45,000. Tlie
policy provided Cargo Coverage in the amount of $100.00 per auto, and $200,000 per loss.

11. Oii or about May 8, 2006, Defendants reported a claim to GREAT WEST
CASUALTY COMPANY regarding damage to portable wooden basketball floors that were
owned by MATT WILLIAMS dba JAM ON IT RENO and / or JAM ON IT BASKETBALL
ACADEMY, INC.

12. WILLIAMS, JAM IT ON RENO and/ or JAM IT ON BASKETBALL
ACADEMY, INC. alleged that the portable wooden basketball floors were exposed to water
while the courts were in the custody or care of the insured JC’S XPRESS, INC. sometime prior
to l\/lay 1, 2006.

13. Ultimately, based upon its iiivestigation, GREAT WEST CASUALTY
COMPANY determined to pay and has paid to MATT WILLIAMS the cargo loss which
amounted to $119,000.00.

14. On April 29, 2008, WILLIAMS and JAl\/l ON IT BASKETBALL ACADEMY,
INC. filed suit in the Second 1 udicial District Court, in and for Washoe County, State of Nevada,
alleging that JC’S EXPRESS, INC damaged the floors by either a breach of contract, or by
negligence The case is styled Jam On lt Bczsketl)all Academy, Inc. et al v. J.C. ’s Express, Inc.,
Case No. CV08 01129. WILLIAMS and JAM ON IT BASKETBALL ACADEl\/IY, INC.

prayed for general and damages in excess of $10,000.00, costs of suit, interest and other relief

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- Page 3 of 5 -

 

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that the court deems just and proper. The suit was exempted from the Court~Annexed
Maiidatory Arbitration Prograni on July 14, 2008.

15. Based upon its further investigation and a review of the allegations contained in
the subject complaint, GREAT WEST CASUALTY COl\/[PANY concluded that under the
Commercial General Liability portion of the policy that there was no coverage for any further
dainages, including but not limited to consequential damages claimed as a result of the loss of
usc of the basketball courts by their owner and by athletes, participants, sponsors and or others
who stood to enjoy or profit from their use In addition, Plaintiff determined that although
additional coverage may be excluded under the Trucker’s Liability portion of the policy, that
state law may obligate GREAT WEST CASUALTY COMPANY to provide minimum policy
property damage liability coverage Based upon its investigation, Plaintiff GREAT WEST
CASUALTY COl\/IPANY issued a letter to the insured J.C.’s EXPRESS, INC. The letter denied
coverage under the Commercial General Liability portion of the policy. In the letter, the Plaintiff
also reserved it rights under the Trucker’s Liability portion of the policy.

FIRST CAUSE OF ACTI()N
(Declaratory Reliei)

16. Plaintiff incorporates by reference all al1egations contained in Paragraphs 1
through 15 of this Complaiiit

17. Pursuant to United States Code, Title 28, Section 2001, the Federal Declaratory
Judgments Act and F ederal Rules Rule of Civil Procedure 57, Declaratory Judgments GREAT
WEST CASUALTY COMPANY seeks a declaration of the duties, rights and interests of the
parties as related to this dispute

18. Plaintiff has been obligated to retain counsel to represent it to prosecute this
matter.

WHEREFORE, Plaintiff GREAT WEST CASUALTY COMPANY expressly reserves
the right to amend this Complaiiit for Declaratory Relief at the time of the trial of the action
herein to include all damages not yet ascertained, and prays for declaratory judgment against the
Defendants, and each of them, as follows:

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- Page 4 of 5 -

 

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A declaration of the Court that an effective policy of insurance existed between
Plaintiff and Defeiidant JC’S XPRESS, INC on the subject date of loss and the
rights, duties and responsibilities of the parties in relation to that policy of
insurance;

A declaration of the Court that Plaintiff has satisfied its duties and responsibilities
to any and all parties to this action under the cargo provisions of the policy via its
payment of $119,000.00 for damage to the floors.

A declaration as to whether Plaintiff owes Defendants any duty to indemnify them
for any damages related to the subject loss under either the Commercial General
Liability or the Trucker’s Liability portions of the policy and if a duty to
indemnify exists, the extent of that duty;

A declaration as to whether Plaintiff owes Defendaiit JC’S XPRESS, INC. a duty
to defend in any action brought by WlLLlAl\/[S, JAM ON IT RENO, JAl\/l ON IT
BASKETBALL ACADEMY, INC., or by any athletes, participants, sponsor or
others who stood to enjoy or benefit directly or indirectly from the use of the
floors;

Attorney’s Fees;

Costs of this action; and,

For such other and further relief as the Court deems just and proper in these

premises

DATED thig;>(\) day of December, 2008.

 

MiLLS at

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Attorney for Plaintiff,

Great West Casualty Company

 

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